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                        UNITED STATES DISTRICT COUR':D ~
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                      SOUTHERN DISTRICT OF CALIFORNIA­
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UNITED STATES OF AMERICA,                   CASE NO. 1'2CR:'2'8i 6:e;:""AJBe-Al7L:'

                       Plaintiff,           A MEN I): E D                J({)
               vs.                          JUDGMENT OF DISMISSAL
MARIA INES MEJIA,    (02)

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been   led in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

__
 x __ the Court has granted the motion of the Government for dismissal,
      without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty: or

     the jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense(s) as charged in the Indictment/Information:

     8:1324(a) (2) (B) (ii) - Bringing in Illegal Aliens for Financial Gain

      8:1324 (a) (2) (B) (iii) ;18:2 - Bringing in Illegal Aliens Without
      Presentation; Aiding and Abetting

          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: 07/27/12


                                            ~.s. Magistrate Judge
